  Case 3:21-mj-00138-RWT Document 6 Filed 10/09/21 Page 1 of 1 PageID #: 33


                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                      Martinsburg Division

 UNITED STATES OF AMERICA

 v.
                                                   Case No. 3:21-MJ-138
 JONATHAN TOEBBE and
 DIANA TOEBBE,

                    Defendants.

                                    MOTION TO UNSEAL

       Now comes the United States of America and Randolph J. Bernard, Acting United States

Attorney for the Northern District of West Virginia by Jarod J. Douglas, Assistant United States

Attorney, and moves the Court to unseal the case in the above-referenced matter for the reason

that the arrest warrants have been executed and the fact of the investigation is now known to the

targets of the investigation. As such, the integrity of the investigation will not be compromised by

the unsealing of the case.

       WHEREFORE, the United States moves the Court to unseal the case.

                                                     Respectfully submitted,

                                                     UNITED STATES OF AMERICA,
                                                     RANDOLPH J. BERNARD
                                                     ACTING UNITED STATES ATTORNEY

                                                     /s/ Jarod J. Douglas
                                                     Jarod J. Douglas
                                                     Assistant United States Attorney
